    Case: 1:16-cr-00306 Document #: 94 Filed: 05/16/17 Page 1 of 4 PageID #:453




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA
                                           No. 16 CR 306-2
              v.
                                           Judge Harry D. Leinenweber
MARCUS WILLIS

               PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the agreed motion of the government, pursuant to Fed. R. Crim. P.

16(d) and 18 U.S.C. § 3771(a)(1) and (8), it is hereby ORDERED:

      1.      Certain materials exchanged by the Parties, provided by the United

States, or produced by third parties, in preparation for, or in connection with, any

stage of the proceedings in this case contain particularly sensitive information

(“Sensitive Information”). Sensitive Information includes, but is not limited to: (1)

nonparty names, addresses, dates of birth, driver’s license numbers, social security

numbers, and other identifying information, (2) nonparty financial information; (3)

statements by, and reports from interviews of, individuals who have been or are

cooperating with the government’s investigation; and (4) any information that

might disclose the identity of a cooperating individual or victim. All materials

containing Sensitive Information (the “Materials”) are subject to this protective

order and may be used by defendant and defendant’s counsel (defined as counsel of

record in this case) solely in connection with the defense of this case, and for no

other purpose, and in connection with no other proceeding, without further order of

this Court.
    Case: 1:16-cr-00306 Document #: 94 Filed: 05/16/17 Page 2 of 4 PageID #:454




      2.     Defendant and defendant’s counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential

witnesses, counsel for potential witnesses, and other persons to whom the Court

may authorize disclosure (collectively, “authorized persons”). Potential witnesses

and their counsel may be shown copies of the materials as necessary to prepare the

defense, but may not retain copies without prior permission of the Court.

      3.     Materials disclosed or to be disclosed by the government contain

particularly sensitive information, including medical information and financial

information of one or more persons other than the defendant. These materials shall

be plainly marked as sensitive by the government prior to disclosure. No such

materials, or the information contained therein, may be disclosed to any persons

other than defendant, counsel for defendant, persons employed to assist the defense,

or the person to whom the sensitive information solely and directly pertains,

without prior notice to the government and authorization from the Court. Absent

prior permission from the Court, information marked as sensitive shall not be

included in any public filing with the Court, and instead shall be submitted under

seal (except if the defendant chooses to include in a public document sensitive

information relating solely and directly to the defendant).

      4.     Defendant, defendant’s counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use


                                          2
    Case: 1:16-cr-00306 Document #: 94 Filed: 05/16/17 Page 3 of 4 PageID #:455




in connection with this case by defendant, defendant’s counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      5.     Defendant, defendant’s counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents

of the materials, other than to authorized persons, and all such notes or records are

to be treated in the same manner as the original materials.

      6.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      7.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the

United States; or (3) retained in defense counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      8.     To the extent any material is produced by the United States to

defendant or defendant’s counsel by mistake, the United States shall have the right

to request the return of the material and shall do so in writing. Within five days of


                                          3
    Case: 1:16-cr-00306 Document #: 94 Filed: 05/16/17 Page 4 of 4 PageID #:456




the receipt of such a request, defendant and/or defendant’s counsel shall return all

such material if in hard copy, and in the case of electronic materials, shall certify in

writing that all copies of the specified material have been deleted from any location

in which the material was stored.

      9.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit

defense counsel in the use of discovery materials in judicial proceedings in this case,

except that any document filed by any party which attaches or otherwise discloses

specially identified sensitive information as described in Paragraph 3, above, shall

be filed under seal to the extent necessary to protect such information, absent prior

permission from this Court.

      10.    Nothing contained in this Order shall preclude any party from

applying to this Court for further relief or for modification of any provision hereof.

                                        ENTER:



                                        HARRY D. LEINENWEBER
                                        U.S. District Judge
Date: May 16, 2017




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